Case 3:17-cv-00072-NKM-JCH Document 284 Filed 03/22/18 Page 1 of 2 Pageid#: 2013


                                                                                      03/22/2018
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES, et al.,                      )
       Plaintiffs,                              )       Civil Action No. 3:17cv00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER, et al.,                        )       By:    Joel C. Hoppe
       Defendants.                              )       United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ Motion to Preclude Defendant Michael

  Peinovich from Recording the Parties’ Discovery Negotiations. ECF No. 126. Peinovich filed a

  response in opposition, ECF No. 134, and both parties addressed the motion at a hearing and

  scheduling conference on March 16, 2018. At the hearing, the Court reminded all counsel and

  self-represented parties that they must adhere to the spirit and purpose of the federal rules

  governing civil discovery, which require cooperation and “communication rather than

  confrontation,” Mancia v. Mayflower Textile Servs. Co., 253 F.R.D. 354, 358 (D. Md. 2008). See

  generally Fed. R. Civ. P. 26(g) advisory committee’s note to 1983 amendment. The Court asked

  Peinovich not to record his conversations with Plaintiffs’ counsel, and Peinovich agreed.

  Moreover, during the scheduling conference, the Court and the parties addressed the topics set

  forth in Rule 26(f) of the Federal Rules of Civil Procedure. Accordingly, for these reasons and

  those stated on the record during the hearing, Plaintiffs’ motion, ECF No. 126, is hereby

  DENIED as moot.

         It is so ORDERED.

         The Clerk shall deliver a copy of this Order to counsel of record and to Defendant

  Peinovich.

                                                ENTER: March 22, 2018



                                                    1
Case 3:17-cv-00072-NKM-JCH Document 284 Filed 03/22/18 Page 2 of 2 Pageid#: 2014




                                     Joel C. Hoppe
                                     United States Magistrate Judge




                                        2
